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 8   Attorneys for Plaintiff

 9                                    UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11
     STEVEN PRESCOTT, individually and on           Case No. 5:23-cv-04192-PCP
12   behalf of all others similarly situated,
                                                    CLASS ACTION
13                             Plaintiff,
                                                    Assigned to Hon. P. Casey Pitts
14                  v.
                                                    JOINT STIPULATION TO MODIFY
15   TC HEARTLAND, LLC,                             BRIEFING SCHEDULE RE:
                                                    DEFENDANT’S MOTION TO DISMISS
16                             Defendant.           PLAINTIFF’S COMPLAINT

17                                                  [Proposed Order Filed Concurrently Herewith]

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      JOINT STIPULATION TO MODIFY BRIEFING
                                         1 SCHEDULE RE: DEFENDANT’S MOTION
                         TO DISMISS PLAINTIFF’S COMPLAINT
         Case 5:23-cv-04192-PCP Document 20 Filed 10/23/23 Page 2 of 4




 1          Pursuant to this Court’s Standing Order and Civil Local Rules 6-1 and 6-2, Plaintiff Steven
 2   Prescott (“Plaintiff”) and Defendant TC Heartland, LLC (“Defendant”) (collectively, the “Parties”),
 3   through their respective counsel, stipulate as follows:
 4          WHEREAS, Plaintiff filed his complaint on August 17, 2023 (ECF No. 1);
 5          WHEREAS, on October 17, 2023, Defendant filed a motion to dismiss Plaintiff’s complaint
 6   (ECF No. 16);
 7          WHEREAS, Plaintiff intends to file an amended complaint in response to Defendant’s
 8   motion to dismiss pursuant to Federal Rule of Civil Procedure 15(a)(1)(b);
 9          WHEREAS, the Parties agree that, in light of the nature of the case, it is appropriate to allow
10   Plaintiff more time to file an amended complaint than the 21 days ordinarily allowed under Federal
11   Rule of Civil Procedure 15(a)(1)(b);
12          WHEREAS, Defendant anticipates that it will file a motion to dismiss any amended
13   complaint Plaintiff may file;
14          WHEREAS, the Parties further agree that, in light of the nature of the case and the
15   scheduling conflicts surrounding the December holidays, it is appropriate to enter a briefing
16   schedule that provides all Parties additional time to brief any motion to dismiss Defendant may file;
17          WHEREAS, no other time modification has been made in this case, besides the Court’s
18   rescheduling of the initial case management conference (See ECF No. 15);
19          WHEREAS, approving the Parties’ request will not be prejudicial to either party, nor will it
20   cause any undue delay to the case’s progression.
21          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties, through
22   their respective counsel, as follows:
23          1.     Plaintiff’s deadline to file an amended complaint in response to Defendant’s pending
24   motion to dismiss is continued from November 7, 2023, to and including December 4, 2023;
25          2.     Defendant’s deadline to move to dismiss or otherwise respond to Plaintiff’s amended
26   complaint shall be January 16, 2024;
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      JOINT STIPULATION TO MODIFY BRIEFING
                                         2 SCHEDULE RE: DEFENDANT’S MOTION
                         TO DISMISS PLAINTIFF’S COMPLAINT
         Case 5:23-cv-04192-PCP Document 20 Filed 10/23/23 Page 3 of 4




 1          3.    If Defendant moves to dismiss the amended complaint, Plaintiff’s opposition shall be
 2   due on or before February 16, 2024, Defendant’s reply shall be due on or before March 8, 2024, and
 3   the motion shall be set for hearing on March 29, 2024, at 10:00 a.m.
                                            March 28, 2024
 4

 5   IT IS SO STIPULATED:
 6

 7   DATED: October 20, 2023                              CLARKSON LAW FIRM, P.C.

 8                                                        By: /s/ Bahar Sodaify
                                                                Ryan J. Clarkson
 9                                                              Bahar Sodaify
                                                                Alan Gudino
10                                                              Ryan D. Ardi

11                                                             Attorneys for Plaintiff

12
     DATED: October 20, 2023                              JENNER & BLOCK LLP
13
                                                          By: /s/ Alexander M. Smith
14                                                              Alexander M. Smith

15                                                             Attorneys for Defendant

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17   PURSUANT TO STIPULATION, IT IS SO ORDERED:

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20   DATED: October 23, 2023                              By: ____________________________
                                                               The Honorable P. Casey Pitts
21                                                             United States District Judge

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      JOINT STIPULATION TO MODIFY BRIEFING
                                         3 SCHEDULE RE: DEFENDANT’S MOTION
                         TO DISMISS PLAINTIFF’S COMPLAINT
          Case 5:23-cv-04192-PCP Document 20 Filed 10/23/23 Page 4 of 4




 1                          ATTESTATION UNDER LOCAL RULE 5-1(i)(3)
 2           Pursuant to Civil Local Rule 5-1(i)(3), the undersigned filer hereby attests that all signatories
 3   listed, and on whose behalf the filing is submitted, concur in the filing’s content, and have authorized
 4   the filing.
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     DATED: October 20, 2023                                 CLARKSON LAW FIRM, P.C.
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                                                             By: /s/ Bahar Sodaify
 7                                                                 Bahar Sodaify
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      JOINT STIPULATION TO MODIFY BRIEFING
                                         4 SCHEDULE RE: DEFENDANT’S MOTION
                         TO DISMISS PLAINTIFF’S COMPLAINT
